                                                                 United States Bankruptcy Court
                                                                  Eastern District of Michigan

 In re      SMR Equestrian, LLC                                                                   Case No.
                                                                              Debtor(s)           Chapter     7



                       STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Sarah M. Robertson, declare under penalty of perjury that I am the Sole Member of SMR
Equestrian, LLC, and that the following is a true and correct copy of the resolutions adopted by the Members
of said Limited Liability Company at a special meeting duly called and held on the 25th day of February,
2019.

       "Whereas, it is in the best interest of this Limited Liability Company to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Sarah M. Robertson, Sole Member of this Limited Liability Company,
is authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 7
voluntary bankruptcy case on behalf of the Limited Liability Company; and

        Be It Further Resolved, that Sarah M. Robertson, Sole Member of this Limited Liability Company is
authorized and directed to appear in all bankruptcy proceedings on behalf of the Limited Liability Company,
and to otherwise do and perform all acts and deeds and to execute and deliver all necessary documents on
behalf of the Limited Liability Company in connection with such bankruptcy case, and

       Be It Further Resolved, that Sarah M. Robertson, Sole Member of this Limited Liability Company is
authorized and directed to employ Michael D. Lieberman P38529, attorney and the law firm of Lieberman,
Gies & Cohen, PLLC to represent the Limited Liability Company in such bankruptcy case."

 Date February 25, 2019                                                      Signed /s/ Sarah M. Robertson
                                                                                    Sarah M. Robertson, Sole Member




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                                                                     Resolution of the Members
                                                                                 of
                                                                      SMR Equestrian, LLC



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 Date February 25, 2019                                                       Signed /s/ Sarah M. Robertson
                                                                                      Sarah M. Robertson, Sole Member




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